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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON

 BOBO’S DRUGS, INC. d/b/a DAVIS                  )
 ISLANDS PHARMACY, individually and as           )
 the representative of a class of similarly-     )
 situated persons,                               )
                            Plaintiff,           )
                                                     No. 8:17-cv-00372
              v.                                 )
                                                 )
 ST. JOHN’S UNIVERSITY, and GETAWAY              )
 SEMINARS, INC.,                                 )
                                                 )
                            Defendants.          )

                         JOINT NOTICE OF SETTLEMENT

      Parties jointly provide notice to the Court that they have reached an

agreement-in-principle to settle this case on an individual basis. The parties are

currently in the process of memorializing their settlement in written documents and

expect to file a Stipulation of Dismissal with the Court upon the completion of that

process and the consummation of the settlement.



      Respectfully submitted, this 9th day of March 2018.

 GETAWAY SEMINARS, INC. and ST.             BOBO’S DRUGS, INC. d/b/a DAVIS
 JOHN’S UNIVERSITY,                         ISLANDS PHARMACY,

 By: /s/ Robert E. Burkett, Jr.             By: /s/ Phillip A. Bock
 One of its attorneys                       One of its attorneys

 Robert E. Burkett, Jr. (FL 545074)         Phillip A. Bock (FL 93985)
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                            CERTIFICATE OF SERVICE

      I hereby certify that on this March 9, 2018, I filed a copy of the foregoing

document with the Clerk of Court using the CM/ECF system, which will

automatically send notice of the filing to all counsel of record.




                                                /s/ Phillip A. Bock
